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PROPOSED ATTORNEY FOR DEBTOR

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


IN RE                                               §
                                                    §
EVERYREADY SERVICES, INC                            §       Case No. 20-30225
     DEBTOR                                         §


                                MOTION TO REJECT LEASE

     NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
WRITTEN OBJECTION OR REQUEST FOR HEARING IS FILED WITH THE
UNITED STATES BANKRUPTCY CLERK, 1100 COMMERCE STREET, 12TH FLOOR
DALLAS, TEXAS 75242, WITHIN TWENTY-ONE (21) DAYS FROM THE DATE OF
THE FILING OF THIS MOTION, UNLESS THE COURT, SUA SPONTE, OR UPON
TIMELY APPLICATION OF A PARTY IN INTEREST, SHORTENS OR EXTENDS
THE TIME FOR FILING SUCH OBJECTION OR REQUEST FOR HEARING.
     IF NO OBJECTION OR REQUEST FOR HEARING IS TIMELY FILED, THE
MOTION SHALL BE DEEMED TO BE UNOPPOSED AND THE COURT MAY ENTER
AN ORDER GRANTING THE RELIEF SOUGHT. THE COURT RESERVES THE
RIGHT TO SET ANY MATTER FOR HEARING.


TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:


        COMES NOW, Everyready Services, Inc., ("Debtor"), in the above-styled and numbered

cause, and pursuant to 11 U.S.C. § 365 files this its Motion to Reject Lease ("Motion"),

requesting the Court to enter an Order authorizing Debtor to employ Eric A. Liepins and the law
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firm of Eric A. Liepins, P.C., (collectively hereinafter referred to as the "Firm"), as counsel for

the Debtor, and in support thereof would respectfully show unto the Court as follows:

        1.      On or about January 23, 2020 Debtor filed its Voluntary Petition for relief under

Chapter 11 of the United States Bankruptcy Code and has continued in possession of its property

and operation of its business as a Debtor-in-Possession pursuant to §§ 1107 and 1108 of the

Bankruptcy Code.

        2.      The Debtor currently lease a location from NWP TX TT, LLC (“Landlord”).

        3.      By Court Order the Debtor sold the majority of its assets to CSMC, LLC on or

about May 11, 2020.

        4.      The Debtor no longer needs the leases premises.

        5.      The Debtor hereby moves to reject its existing lease with Landlord.

        6.      Because the Debtor has sold its assets and no longer need to premises the Debtor

would show it is in the best interests of the Debtor and all creditors to reject the current lease.

        WHEREFORE, PREMISES CONSIDERED, Debtor, Everyready Services, Inc.,

respectfully prays this Honorable Court enter an Order Allowing the Debtor to Reject its lease

with Landlord, and for such other and further relief, at law or in equity, to which Debtor may

show itself justly entitled.



                                               Respectfully submitted,



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                                             BY: /s/ Eric Liepins_____
                                                     ERIC A. LIEPINS, SBN 12338110


                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was to all creditors
and the United States Trustee, United States mail on this the 11th day of May 2020.

                                             __/s/ Eric Liepins______
                                             Eric A. Liepins
